Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 1 of 20 PageID: 12




      EXHIBIT A
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 1 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 2 of 20 PageID: 13
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 2 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 3 of 20 PageID: 14
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 3 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 4 of 20 PageID: 15
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 4 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 5 of 20 PageID: 16
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 5 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 6 of 20 PageID: 17
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 6 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 7 of 20 PageID: 18
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 7 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 8 of 20 PageID: 19
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 8 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 9 of 20 PageID: 20
     MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 9 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 10 of 20 PageID: 21
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 10 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 11 of 20 PageID: 22
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 11 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 12 of 20 PageID: 23
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 12 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 13 of 20 PageID: 24
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 13 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 14 of 20 PageID: 25
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 14 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 15 of 20 PageID: 26
    MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 15 of 15 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 16 of 20 PageID: 27
         MRS-L-000665-19 03/27/2019 10:35:40 AM Pg 1 of 1 Trans ID: LCV2019541912
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 17 of 20 PageID: 28




                        Civil Case Information Statement
Case Details: MORRIS | Civil Part Docket# L-000665-19

Case Caption: S. A. VS DI'VANTE MILLER QUATREL                   Case Type: PERSONAL INJURY
Case Initiation Date: 03/27/2019                                 Document Type: Complaint with Jury Demand
Attorney Name: ERIC G KAHN                                       Jury Demand: YES - 6 JURORS
Firm Name: JAVERBAUM WURGAFT HICKS KAHN ET AL                    Hurricane Sandy related? NO
Address: 505 MORRIS AVE                                          Is this a professional malpractice case? NO
SPRINGFIELD NJ 07081                                             Related cases pending: NO
Phone:                                                           If yes, list docket numbers:
Name of Party: PLAINTIFF : S., A.                                Do you anticipate adding any parties (arising out of same
Name of Defendant’s Primary Insurance Company                    transaction or occurrence)? NO
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

03/27/2019                                                                                                    /s/ ERIC G KAHN
Dated                                                                                                                   Signed
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 18 of 20 PageID: 29




       EXHIBIT B
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 19 of 20 PageID: 30
Case 2:19-cv-17393-SDW-ESK Document 2 Filed 09/04/19 Page 20 of 20 PageID: 31
